Case 1:23-cv-00108-LMB-JFA Document 453-13 Filed 09/20/23 Page 1 of 2 PageID# 6964




                         EXHIBIT 15
        Case 1:23-cv-00108-LMB-JFA Document 453-13 Filed 09/20/23 Page 2 of 2 PageID# 6965

    From:                 Thorne, John lthorne@kellogghansen.com>
    Sent:                 Wednesday, September 16, 2020 4:01 PM
    To:                   Teslicko, David(ATR)<David.Teslicko@ATR.USDOIGOV>
    Subject:              publishers


   Dear David: Jonathan Kanter will reach out to you re follow-up with News Corp. Let me know what more Daily Mail
   might do to be useful, e.g„ regarding harm and remedies. Hope you are well. Best regards, JT

   John Thorne
   KELLOGG, HANSEN,TODD, FIGEL & FREDERICK, P.L.L.C.
   Sumner Square 1 1615 M Street, N.W. I Suite 400 I Washington, DC 20036
   office 202-326-7992 / mobile 202-365-7992 I fax 202-326-7999

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